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                           UNITED STATES DISTRICT COURT
                       THE WESTERN DISTRICT OF PENNSYLVANIA

PENNSYLVANIA GENERAL ENERGY
COMPANY, L.L.C.,                                               Civ. No.: 1:14-cv-209
                                                               Magistrate Judge
Plaintiff,                                                     Susan Paradise Baxter


v.                                                             DECLARATION OF
                                                               SUPERVISOR STACY LONG

GRANT TOWNSHIP,

                                                               Electronically Filed
Defendant.



         DECLARATION OF GRANT TOWNSHIP SUPERVISOR STACY LONG

        I, Stacy Long, being an adult over the age of 21 years, and competent to make this

unsworn Declaration, do hereby make the statements below, which are true and correct to the

best of my knowledge and belief, subject to the penalties for unsworn declarations pursuant to

Pennsylvania law:

        1. My name is Stacy Long and I serve as one of the Supervisors for Grant Township.

             Grant Township is a small rural town in Pennsylvania with a population of

             approximately 700 people.

        2. I have lived in Grant Township on and off for over 30 years and have been an elected

             Township Supervisor since January 2016.

        3. After the Court sanctioned our attorneys, the other Grant Township Supervisors and I

             got together to discuss preparing an Open Letter for publication to try to help clear up

             what we believe are misconceptions about the case, about the community of Grant

             Township, and about its Board of Supervisors.
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4. We are not bragging.

5. The letter expresses the Board of Supervisors' frustration with not being heard, with

   the inadequacies of federal and state environmental regulations, and with the

   roadblocks attempting to prevent the Supervisors from fulfilling their moral and

   public trustee obligations to the community.

6. The Supervisors do not believe that a legal theory that gives them the ability to

   protect the health, safety, and welfare of Grant Township residents and their

   environment is frivolous.

7. The open letter expresses appreciation for counsel willing to represent us, despite

   continued threats by a corporation that will harm our community.

8. We have done our research and continue to research. We know of the dangers posed

   by fracking and fracking waste. We know that PGE has an awful record of

   environmental violations.

9. We do not understand how we are the ones that could be punished when we are

   protecting our residents' civil rights. The right to a healthy life. The right to clean air,

   water, and soil. The right to say no to living with harmful toxins.

10. We do not understand how a corporation can have more rights than the people in our

   community.

11. Can you imagine if all of your water came from a well or spring that you privately

   maintain, that is fed from groundwater under and around your home. Every dwelling

   in Grant Township is set up like this-there is no public water system. If there were

   plans to inject toxic and radioactive fracking waste underground near your home and




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          in your community's creeks and springs and its watershed, how could you just let it

          ·happen?

       12. We cannot give up. We ask for compassion and understanding.


      I sign this Declaration subject to the penalties for unsworn verifications pursuant to

Pennsylvania law.



Dated: May ~ , 2018.




Stacy~
Grant Township Supervisor .




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